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13 UNITED STATES DISTRICT COURT
14 SOUTHERN DISTRICT OF CALIFORNIA

11

15 || s. YVESTER OWINO and JONATHAN ) Case No. 3:17-CV-01112-JLS-NLS
16 GOMEZ, on behalf of themselves and all

others similarly situated,

 

17 Plaintiffs, 4 CLASS ACTION
vs.
18 DECLARATION OF DIEGO
19 CORECIVIC, INC., SANTIBANEZ
20 Defendant.

 

21 || CORECIVIC, ING.,

oy) Counter-Claimant, Judge: Hon. Janis L. Sammartino

Magistrate: Hon. Nita L. Stormes
23

24 VS.

75 || SLY VESTER OWINO and JONATHAN
GOMEZ, on behalf of themselves and all
76 || Others similarly situated,

Counter-Defendants.
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Case No. 17-CV-01112-JLS-NLS

 

 

 
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I, Diego Santibanez, declare as follows:

1. I am over eighteen years of age. I have personal knowledge of the contents
of this declaration. If called upon to do so, I could and would testify under oath about the
contents of this declaration.

Dm I was detained at the Otay Mesa Detention Center from March 2, 2015 to
November 31, 2015. The Otay Mesa Detention Center is operated by CoreCivie, Inc.

Bn During my detention at the Otay Mesa Detention Center, I was required to
abide by all orders and instructions issued by CoreCivic guards and employees, including
performing cleaning tasks in common and private living areas without pay. IfI refused to
obey the orders and instructions issued to me by CoreCivic guards and employees, I
would be subject to punishment, including being placed in solitary
confinement/segregation.

4, I understood that I could be punished for refusing to obey any orders and
instructions given to me by CoreCivic guards and employees based on my knowledge of
the written rules and policies issued by CoreCivic, my personal observation of other
detainees who were punished for refusing to follow orders and instructions, from talking
with other detainees, who informed me that any failure to obey the orders and
instructions issued by CoreCivic guards and employees would result in punishment such
as segregation, and from my own personal experience of being punished while I was
detained. On several occasions during my detention, the entire unit — which is where
approximately 320 detainees were housed — was placed on lockdown, and we were given
“no daylight” (i.e., no time out of our cells) because a single detainee refused to comply
with an order to clean areas in his cell or in the unit.

Dr During almost the entire period of my detention, I worked for CoreCivic as
part of what was called the “Voluntary Work Program,” as a cleaning porter, primarily
cleaning inside the housing units and in the cafeteria. My supervisor was an employee of
CoreCivic and CoreCivic’s employees at the detention center determined my pay, hours,

work schedule, and training. My job performance was reviewed by my supervisor. If]

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performed poorly, I could be terminated. Typically, I worked two to three hours per day
for six days during each week. There were no scheduled rest breaks or other breaks
during my shifts. I was only paid $1 for each day I worked, regardless of how many
hours I worked during that day.

6. I was not given any documentation as part of my job in the Voluntary Work
Program and was not provided any information regarding gross wages earned, total

hours worked, applicable deductions, net wages earned, the pay period, the applicable

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hourly rates in effect, or the corresponding number of hours worked during the pay

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10 period.

WJ 7. In addition to my work as a cleaning porter, I performed several painting
12 || “details,” which were special assignments that involved work painting part of the facility.
13 || I typically worked more than eight hours in a single day while on details. I was paid $2
14 || per day for my work on the painting details.

15 8. In addition to my work on painting details, and as part of the Voluntary

16 || Work Program as a cleaning porter, I had to perform cleaning work in the private and
17|| communal areas of my housing unit without any pay, or I would have been punished. I
18 ||had to clean floors, make my bed, clean the toilet and sink, wipe down walls and clean
19 || furniture and air vents. Often toilets would clog, and I was forced on at least three

20 || occasions to reach my arm down pipes outside of my cell to unclog the blockage. On
21 || those occasions, CoreCivic officers would have a plumber come to watch the work, but
22 || the plumber did not actually do the work. I was required to unclog the pipes myself. In
23 || addition, whenever there was a visit of the detention center by an official person, all

24 || detainees were required to do a “deep clean,” scrubbing walls and floors throughout the

25 |! detention center for no pay. This happened two or three times during the time of my
26 |! detention.

7 9. I joined the Voluntary Work Program because it was the only way that I
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could earn money during my time at the Otay Mesa Detention Center. I did not want to

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work, and several of my fellow detainees who had money in their accounts chose not to
work. I did not have sufficient money in my account, so I had to join the Voluntary
Work Program. Otherwise, I would not have been able to purchase food, clothing, and
basic hygiene items from the commissary, or purchase phone cards to call my family.
During my time at the Otay Mesa Detention Center, CoreCivic provided me with only
two small “hotel size” bars of soap per week. These would only last two or three days. It
would usually take CoreCivic four days to provide me with new soap, so I had to buy my
own from the commissary. Similarly, each week I was given small tubes of toothpaste by
CoreCivic, approximately two inches long. This would be used up quickly and was not
replaced by CoreCivic in a timely manner, so I also had to use money I made through the
Voluntary Work Program to purchase enough toothpaste to brush my teeth. Purchasing
additional hygiene items like soap and toothpaste from the commissary was the only way
to avoid not having these items when I ran out during the week.

10. I was permitted to make phone calls to family and friends during my time at
the Otay Mesa Detention Center. These calls cost me money. Purchasing phone cards at
the commissary was the only way I was able to call my family and friends.

I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.

Executed this a , day of May, 2019, in Tijuana, Mexico.

  

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Diggo Santibangéz

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